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                               IN THE UNITED STATES DISTRICT COURT
                              FOR THE NORTHERN DISTRICT OF ILLINOIS
                                         EASTERN DIVISION

____________________________________
                                        )
General Tools & Instruments, LLC        )
                                        )              Case No. 1:19-cv-02519
              v.                        )
                                        )              Judge: Honorable Robert W. Gettleman
Does 1-2092, As Identified in Exhibit 2 )
                                        )              Magistrate: Honorable Sunil R. Harjani
                                        )
____________________________________)

                                        VOLUNTARY DISMISSAL

         Pursuant to Rule 41(a)(1)(A)(i) of the Federal Rules of Civil Procedure, the undersigned counsel for

Plaintiff, General Tools & Instruments, LLC, hereby notifies this Court that the Plaintiff voluntarily dismisses

with prejudice any and all claims against the following defendants:

 Doe #     Seller Name                     Seller ID                      Def. E‐mail

     22 omenatech                          omenatech                      sales@omenatech.com

    123 Only Time Will Tell                1849210                        summersummer88@outlook.com

    136 Xiaomii_Holiday Store                                   1957833 xi_aomii@163.com

    139 Relax Yourselves Store                                  1958674 shanghaaii@163.com

    155 Hey Girl Store                                          2128135 hejie123_hj@163.com
    159 Shop2135097 Store                                       2135097 fangbingbing_123@163.com
        Stationery & School supplies
    166 Store                                                   2337095 mcnxsz@sina.com
        SCHOOL&OFFIC E Supplies
    183 Wholesaling Store                  2630008                        adame22@163.com
    189 Warm Corner Store                  2672140                        taiyan667@163.com

    205 Rest Yourselves Store              2846099                        sdr_taotie@163.com

    207 beautifu & Healthy Store           2858101                        sdr_qinglong@163.com

    211 Be Punctual Store                  2881215                        rakodax_xinxin@163.com

    212 Manufacture Spirit Store           2881216                        rakodax_lw@163.com

    222 BeautyGoods&Crafts Store           2917015                        daruigu@outlook.com

    234 LoveOutdoor Store                  2946035                        rakodax_88@163.com

    239 Have Tools Store                   2949050                        noyo_verins@163.com
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Doe # Seller Name                    Seller ID                  Def. E‐mail

 275 Amyfifi Bags Store              3086022                    afshskh@163.com

 276 EduSupply Store                 3086123                    mnbhda@sina.com

 279 Beautiful Offi‐ce Store         3092112                    oemfualpog@outlook.com

 284 FunFun`s Store                  3115028                    nterester@163.com

 294 Digital Tech Store              3194048                    sdshghk@sina.com

 316 PENCIL‐BOOK Store               3248098                    natureyet@outlook.com

 319 Tooling House Store             3259041                    jin1@dresspro.com

 332 Fun city Store                  3413017                    jyrevnm@outlook.com

 352 Satisfy Yourselves Store        3618075                    joylivecy_freyr@163.com

 356 Nearby you Store                3629095                    joylivecy_sif@163.com
 361 Hardware grocer Store           3668005                    joylivecy_frigg@163.com

 407 Momo Tooling Store              4048011                    moyu2@jebolist.com
     Sundry Homes Improve Tool
 436 Store                           4378048                    sunhc5@eaglestime.com

 489 Yuyu2 Store                     4607015                    yuwl2@aebitsry.com

 516 Ankace                          A13YZ7M2UYJORA             TANYA_LIMITEDhappy262@usa.com
 560 ynltd                           A2H8JZH9AT3AXH             ynltd@hotmail.com

 590 Sandalas                        A3TMC2CYXWFUQO             liangfangsir@hotmail.com

 655 andwind                         andwind                    andwindy@outlook.com
 686 boss7321                        boss7321                   boss201308@gmail.com

 800 gintagubua_0                    gintagubua_0               lopezlees@hotmail.com

 820 happyvalley009                  happyvalley009             happyvalley319@gmail.com
 821 hdjkhdjk1                       hdjkhdjk1                  hdjkhdjk@outlook.com

 908 lucky.warm                      lucky.warm                 luck3636@outlook.com

1021 shoptongs                       shoptongs                  shoptong@outlook.com

1099 vip9029                         vip9029                    vip201308@gmail.com

1203 腾飞商贸有限公司                        54670fc990c776659eb9816f   jamesztb@hotmail.com

1241 sqsewingfactorycoltd            5524784c92a3e61b096e4d23   nsqsales2@163.com

1247 homelesspeopletechnologycoltd   5541e6fb5252290c0b226a81   993397663@qq.com

1356 wandershipping                  56964a508f41fb32e45e6528   381451336@qq.com

1357 limoment                        56987bd511c8d20e589b6e30   2256757762@qq.com


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  Doe # Seller Name                 Seller ID                   Def. E‐mail

  1364 fallenleaves                 56c709548bd26e30ce9639a1    3281468025@qq.com

  1509 dreamword                    580d7038ecd5d0199ddeb146    wishuk@jebolist.com

  1659 kangyistore                  58c2380941d7f15106b9a0af    18006528593@163.com

  1844 sunqingxiangstore            59551028abea91772949488c    sunqingxiang17629@163.com

  1894 yoyo123                      598d06f0f628f526f4053c2f    agencytrip@sina.com

  2061 kaichenganfang               5b0119067d4d84478790b6a6    wzdehfan@outlook.com

  2063 mgezhi                       5b0654788b8be94ddfbfcddb    migezhi@outlook.com


Dated: October 21, 2019
                                                                 Respectfully submitted,

                                                                    By:       /s/ Rishi Nair

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